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 5

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 7
                              UNITED STATES DISTRICT COURT
 8
                                          DISTRICT OF NEVADA
 9

10    UNITED STATES OF AMERICA             )
                                           )              Case No.: 2:10-cr-121-RLH-RJJ
11                      Plaintiff,         )
      vs.                                  )              GOVERNMENT’S MOTION
12                                         )              TO UNSEAL
      BRETT DEPUE,                         )
13    BRIAN BARNEY, and                    )
      MARIA ORNELAS                        )
14                                         )
                       Defendants.         )
15                                         )
      _____________________________________)
16

17             The United States, by and through Daniel G. Bogden, United States Attorney, District of

18    Nevada, and Brian Pugh and Sarah E. Griswold, Assistant United States Attorneys, hereby moves

19    to unseal documents in this case.

20             Various documents associated with defendants Brian Barney and Maria Ornelas were

21    previously sealed in this case. The reasons for those documents to be sealed no longer exists.

22    Accordingly, the United States requests that those documents previously sealed now be unsealed,

23    including but not limited to the following docket entries and associated documents: Barney

24    ///

25    ///

26    ///
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 1    Change of Plea Minutes, Ornelas Change of Plea Minutes, Ornelas Plea Memorandum, and

 2    Ornelas change of plea Order of Forfeiture

 3            DATED this 11th day of May 2012

 4                                                 Respectfully Submitted,

 5                                                 DANIEL G. BOGDEN
                                                   United States Attorney
 6
                                                   /s/ Sarah E. Griswold
 7                                                 BRIAN PUGH
                                                   SARAH E. GRISWOLD
 8                                                 Assistant United States Attorneys

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10    IT IS SO ORDERED.
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12    ______________________________
      UNITED STATES DISTRICT JUDGE
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14    DATED: May 14, 2012

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 1                            CERTIFICATE OF ELECTRONIC SERVICE

 2             This is to certify that the undersigned has served the foregoing on counsel of record by

 3    means of electronic filing.

 4             DATED this 11th day of May, 2012.

 5
                                                     /s/ Kelly Muranaka
 6                                                   KELLY MURANAKA
                                                     Legal Assistant
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